                  Case: 1:20-cv-06911 Document #: 27 Filed: 02/07/21 Page 1 of 2 PageID #:69

AO 440 (Rev. 05/00) Summons in     a   Civil Action



                                             Uxmpo Srarrs Drsrrucr CoURT
                                                            NORTTmRN DISTRICT oF ILLINoIS




                                                                                       SUMMONS IN A                   CIVI       CASE
Benjamin George


                                                                            CeseNuirmrR:                       1:20-cv-06911
                                   V.                                       ASSIGNED JuocB:
                                                                                                              Honorable Judge Blakey
 City of Chicago, James Gardiner, Charles Sikanich, Chicago Police
 Officers Solomon Ing (#4117), Peter Palka (#9413), Daniel Smith            DBsrcxaren
 (#20066), Bilos (#21010), Joseph Ferrara (#233), Sergio Corona (#333 1),
 Ortiz (Star # unknown), and Unknown Chicago Police Officers                MAGISTRATE JUDGE:                 Honorable Judge lantz


                     TO: (rtu-.     and address of Defendant)


        Charles Sikanich
        City of Chicago Department of Streets and Sanitation, Division 2
        4808 W. Wilson Ave
        Chicago.IL 60630


          YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF'S ATTORNEY                                              (narneandaddress)


                  First Defense Legal Aid, 601 S. California Ave, Chicago,                            IL   60612

                  The Law Offices of Elizabeth A. Homsy, 2506 N. Clark St., Suite 286, Chicago,                           lL     60614




                                                                                 21
an answer to the complaint which is herewith served upon you,                                  days after service ofthis
suflrmons upon you? exclusive of the day of service. If you fail to do so, judgment by default will be taken against you for
the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a reasonable
period of time after service.




     THOMAS G. BRUTON, CLERK

                                                                                         li*.i,,; )
                                                                                     .... |      :l
                                                                                                               December 18,2020

                                                                                                               DATE
                     Case: 1:20-cv-06911 Document #: 27 Filed: 02/07/21 Page 2 of 2 PageID #:70



                                                                      RETURN OF SERVICE
                                                                                          DArE         Z/   11/
             Service of the Summons and complaint was made by me(i)
                                                                                                              e0 z /
NAME oF SERVER          ,rfllr,, / C tZ/a /*r,, (                                         '"t'po   ,   ,rr;fr ,4n y'or/r rre
      Check one box below to indicate appropriate method of sertice

             gdl,"a       personally upon the de             Place where served:




                  Left copies thereofat the defendant's dwelling house or usual place ofabode with           a person   ofsuitable age and
                  discretion then residing therein.

                  Name of person with whom the summons and complaint were left:

             tr   Returned unexecuted:




                  Other (specify):




                                                             STATEMENT OF SERVICE FEES
TRAVEL                                                  SERVICES                                                  TOTAL



                                                                DECLARATION OF SERVER

                      I declare under penalty of perjury under the laws of the United States of America that the foregoing information
             contained in the Retum of Service and Statement of Servi


             Executed            Z///*,7                                          6-;




(l)   As to who may serve a suormons see Rule 4 ofthe Federal Rules   ofCivil Procedure
